                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

JONATHAN WUNDER,                                )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )      Case No. 1:16-cv-00118-MWB
                                                )
DIVERSIFIED CONSULTANTS, INC.,                  )
                                                )
       Defendant.                               )

                                PLAINTIFF’S COMPLAINT

       Plaintiff, JONATHAN WUNDER, (hereinafter referred to as "Plaintiff") brings this

action for damages, and other legal and equitable remedies resulting from the illegal actions of

DIVERSIFIED CONSULTANTS, INC. (“Defendant”) in negligently, knowingly, and/or

willfully contacting Plaintiff on Plaintiff’s cellular telephone without his prior express consent

within the meaning of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

("TCPA"). The TCPA prohibits unsolicited voice calls to cellular telephones without prior

express consent within the meaning of the TCPA. In an effort to enforce a fundamental right to

privacy, Plaintiff alleges, by and through his counsel, Kristin K. Gamble, Esq., the following

against Defendant:

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47 U.S.C.

       227, et seq. (“TCPA”).

   2. The TCPA was designed to prevent calls and text messages like the ones described

       herein, and to protect the privacy of citizens like Plaintiffs. “Voluminous consumer

       complaints about abuses of telephone technology – for example, computerized calls
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   dispatched to private homes – prompted Congress to pass the TCPA.” Mims v. Arrow

   Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

3. In enacting the TCPA, Congress intended to give consumers a choice as to how

   corporate similar entities may contact them, and made specific findings that

   “[t]echnologies that might allow consumers to avoid receiving such calls are not

   universally available, are costly, are unlikely to be enforced, or place an inordinate

   burden on the consumer. TCPA, Pub. L. No. 102–243, § 11. In support of this, Congress

   found that

          [b]anning such automated or prerecorded telephone calls to the
          home, except when the receiving party consents to receiving the
          call or when such calls are necessary in an emergency situation
          affecting the health and safety of the consumer, is the only
          effective means of protecting telephone consumers from this
          nuisance and privacy invasion.

   Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL

   3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s

   purpose).

4. Congress also specifically found that “the evidence presented to the Congress indicates

   that automated or prerecorded calls are a nuisance and an invasion of privacy, regardless

   of the type of call….” Id. at §§ 12-13. See also, Mims, 132 S. Ct. at 744.

5. As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA case

   regarding calls to a non-debtor similar to this one:

          The Telephone Consumer Protection Act … is well known for its
          provisions limiting junk-fax transmissions. A less-litigated part of
          the Act curtails the use of automated dialers and prerecorded
          messages to cell phones, whose subscribers often are billed by the
          minute as soon as the call is answered—and routing a call to
          voicemail counts as answering the call. An automated call to a
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           landline phone can be an annoyance; an automated call to a cell
           phone adds expense to annoyance.

   Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

                            JURISDICTION AND VENUE

6. This Court has federal question jurisdiction because this case arises out of violations of

   federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

7. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue

   occurred in this District.

                                        PARTIES

8. Plaintiff is, and at all times mentioned herein was, a citizen and resident of Cedar

   Rapids, Linn County, Iowa.

9. Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47 U.S.C. §

   153 (10).

10. Plaintiff is informed and believes, and thereon alleges, that Defendant is, and at all times

   mentioned herein was, a corporation whose corporate headquarters are in Jacksonville,

   Florida.

11. Defendant is, and at all times mentioned herein was, a corporation and is a “person,” as

   defined by 47 U.S.C. § 153 (10).

12. Plaintiff alleges that at all times relevant herein Defendant conducted business in the

   State of Iowa, in the County of Linn, and within this judicial district.

 THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. § 227

13. As noted above, in 1991, Congress enacted the TCPA in response to a growing number

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   of consumer complaints regarding certain telemarketing practices.

14. The TCPA regulates, among other things, the use of automated telephone equipment, or

   "autodialers."Specifically, the plain language of section 227(b)(l)(A)(iii) prohibits the

   use of autodialers to make any call to a wireless number in the absence of an emergency

   or the prior express consent of the called party.

15. According to findings by the Federal Communication Commission ("FCC''), the agency

   Congress vested with authority to issue regulations implementing the TCPA, such calls

   are prohibited because, as Congress found, automated or prerecorded telephone calls are

   a greater nuisance and invasion of privacy than live solicitation calls, and such calls can

   be costly and inconvenient. The FCC also recognized that wireless customers are

   charged for incoming calls whether they pay in advance or after the minutes are used.

16. On January 4, 2008, the FCC released a Declaratory Ruling wherein it confirmed that

   autodialed and prerecorded message calls to a wireless number by a creditor (or on

   behalf of a creditor) are permitted only if the calls are made with the ''prior express

   consent" of the called party. The FCC "emphasize[d] that prior express consent is

   deemed to be granted only if the wireless number was provided by the consumer to the

   creditor, and that such number was provided during the transaction that resulted in the

   debt owed."

17. The TCPA prohibits the use of any "automatic telephone dialing systems" to call cellular

   telephones. It also prohibits the use of artificial or prerecorded messages.

       a. "Automatic telephone dialing system" means any equipment that has the

           "capacity to dial numbers without human intervention." Griffith v. Consumer

           Portfolio Serv., Inc., 2011 WL 3609012 (N.D. Ill. Aug. 16, 2011) (emphasis
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           original).

                             FACTUAL ALLEGATIONS

18. Within four (4) years of Plaintiff filing this Complaint, Defendant communicated with

   Plaintiff regarding a consumer debt account (“Account”).

19. In or around April 2014, Defendant began to utilize Plaintiff’s cellular telephone

   number, ending in 6448, to place virtually daily incessant calls to Plaintiff pertaining to

   the Account.

20. Within four (4) years of Plaintiff filing this Complaint, Defendant has called Plaintiff on

   his cellular telephone with pre-recorded messages.

21. Defendant called Plaintiff’s cellular telephone at an annoying and harassing rate, calling

   Plaintiff at least once or twice every day.

22. In or around April 2014, Plaintiff spoke with one of Defendant’s collectors and told

   Defendant’s collector to stop calling.

23. Plaintiff has spoken to Defendant’s collectors on at several occasions and told

   Defendant’s collectors to stop calling.

24. Despite these multiple requests, Defendant continued to place collection calls to Plaintiff

   on his cell phone using an “automated telephone dialing system.”

25. Defendant placed approximately one hundred (100) calls to Plaintiff’s cellular telephone

   number.

26. Defendant made numerous telephone calls to Plaintiff’s cellular telephone. The

   telephone numbers that Defendant used to contact Plaintiffs with an "automatic

   telephone dialing system," were assigned to cellular telephone services as specified

   in 47 U.S.C. § 227(b)(l)(A)(iii).
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27. The calls Defendant placed to Plaintiff's cellular telephone were placed using an

   automatic telephone dialing system.

28. Defendant uses an “automatic telephone dialing system”, as defined by 47 U.S.C. §

   227(a)(1), to place its repeated calls to Plaintiff.

29. Defendant used the LiveVox system to make collection calls to Plaintiff’s cellular

   telephone.

30. Each morning, Defendant’s employee loads into the LiveVox system approximately three

   to three-and-one-half million phone numbers.

31. Using the LiveVox system, Defendant calls upwards of ninety percent of those phone

   numbers on a daily basis.

32. The inputted phone numbers are stored until midnight, when they are wiped from the

   system.

33. The LiveVox system selects the numbers to be called according to a protocol or strategy

   entered by Defendant.

34. When a call is answered, the LiveVox dialing system connects the called party with a live

   representative of Defendant.

35. When Defendant’s representative is ready to begin communicating with debtors, the

   representative logs into the LiveVox system and toggles a button within the application

   indicating that the representative is ready to receive live callers.

36. Using a pre-programmed algorithm designed to limit the amount of time between calls,

   LiveVox begins to simultaneously call multiple debtors.

37. Defendant’s representative receives an audible "beep" in their headset once the LiveVox

   system connects with a debtor and transfers the call.
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38. The LiveVox dialing system "operates exactly as a predictive dialer would."

39. Defendant’s calls constitute calls that are not for emergency purposes as defined by 47

   U.S.C. § 227(b)(1)(A).

40. Defendant frequently uses skip-tracing services to locate telephone numbers used by

   consumers whom Defendant wishes to call.

41. Defendant’s calls are placed to a telephone number assigned to a cellular telephone

   service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §

   227(b)(1).

42. Under the TCPA and pursuant to the FCCs January 2008 Declaratory Ruling, the burden

   is on the Defendant to demonstrate that the Plaintiff provided express consent within the

   meaning of the statute because it is the best entity to determine how numbers were

   attained.

43. Plaintiff is not a customer of Defendant’s services, and has never provided his cellular

   telephone number to Defendant for any purpose whatsoever.

44. Accordingly, Defendant never received Plaintiff’s “prior express consent” to receive calls

   using an automatic telephone dialing system or an artificial or prerecorded voice on his

   cellular telephone pursuant to 47 U.S.C. 227(b)(1)(A).

45. Even if Defendant received Plaintiff’s “prior express consent” to receive calls using an

   automatic telephone dialing system or an artificial or prerecorded voice, “prior express

   consent” was revoked when Plaintiff requested Defendant to stop calling.

46. The natural consequences of Defendant’s statements and actions was to produce an

   unpleasant and/or hostile situation between Defendant and Plaintiff.


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   47. The natural consequences of Defendant’s statements and actions was to cause Plaintiff

      mental distress.

                           DEFENDANT VIOLATED THE
                     TELEPHONE CONSUMER PROTECTION ACT

   48. Defendant made unsolicited commercial phone calls to the wireless telephone number

      of Plaintiff using equipment that had the capacity to store or produce telephone

      numbers to be called, using a random or sequential number generator, as evidenced by

      the pre-recorded nature of the calls.

   49. These phone calls were made without the prior express consent of Plaintiff.

   50. Defendant’s conduct therefore violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or pre-recorded or artificial voice in

              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

      WHEREFORE, Plaintiff, JONATHAN WUNDER, respectfully requests judgment be

entered against Defendant, DIVERSIFIED CONSULTANTS, INC., for the following:

   51. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled

      to and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. 227(b)(3)(B).

   52. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to

      $1,500.00, for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47

      U.S.C. 227(b)(3)(C).

   53. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

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   54. Any other relief that this Honorable Court deems appropriate.



                                    RESPECTFULLY SUBMITTED,



June 14, 2016                       By:_/s/ Kristin K. Gamble, Esq___
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